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Unliod Cizter Distrie: Court
AO 91 (Rev. 11/11) Criminal Complaint Southern District of Taxas

UNITED STATES DISTRICT COURT yyy 04 2016

 

 

 

 

for the
Southern District of Texas Clerk of Cecrt
United States of America )
Vv. )
Luke Aye LEIVA CaseNo. YW-\\y - (O 8 a -V"
USC; YOB: 1995
(Released w-lw- (08) 4)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of June 3, 2016 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 2422(b) Knowingly enticing and coercing an individual who has not attained the age

of 18 years, to engage in prostitution or any sexual activity

This criminal complaint is based on these facts:

See the attached Affidavit

&% Continued on the attached sheet.

 

Comptainant 's signature

Christopher Suilins, HS! Special Agent
Printed name and title

Sworn to before me and signed in my presence.

é
Date: «06/04/2016 _ o., Le Pe aoe

Judge’s signature

 

City and state: McAllen, Texas Dorina Ramos, U.S. Magistrate
Printed name and title

 
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Attachment “A”
On May 25, 2016, Homeland Security Investigations Special Agent Christopher Sullins
(hereinafter referred to as “SA Sullins”) participated in an undercover online solicitation
investigation on Craigslist.com. SA Sullins created and posted an advertisement under the
casual encounters portion of their website. The advertisement title stated, “home from school
today, bored af’. This advertisement was posted in the section “w4m” defined as women
seeking men”. Later on that date, SA Sullins received a response in his undercover email
account from an individual known as “Luke” (later identified as Luke Aye LEIVA). Using an
undercover email and phone number, Special Agent Sullins began conversations with the
defendant representing himself to be a 12-year-old female child named “Carmen”. SA Sullins
communicated with LEIVA for several days.

LEIVA sent several sexually explicit messages about what he would like “Carmen” to do to
him. LEIVA messaged, “[y]ou lips sound so succulent around this hard throbbing cock”, “with
your soft lips around my cock and licking up and down the shaft”, “I want to rub your yummy
clit with my head” and “I want to feel your lips around my cock tonight baby.”

LEIVA also sent a number of sexually explicit messages involving the sexually activity that he
wanted to engage in with the 12 year old minor “Carmen” . LEIVA messaged, [I]et’s explore
each other’s pleasures ”. LEITVA also messaged, “I can’t wait to feel your hot juices.” When
“Carmen” asked how they would do that, LEIVA responded, “I’m going to feel you with my
cock.” LEIVA messaged that he intended to “play” with the girl. When asked what he meant,
LEIVA texted “[i]t means fuck your tiny wet pussy over and over again ;p”. LEIVA messaged
that the girl would not get pregnant as he would “[p]ull out before I cum ;) or we can also buy
condoms.”

On June 3, 2016, LEIVA arranged to meet the female child “Carmen” for sex. LEITVA drove to
the park where the female child “CARMEN?” stated that she was going to be at.

At approximately 1:54pm, LEIVA texted that he had arrived at the location. LEIVA was
observed to exit his vehicle and be on foot at the location. At 1:58pm LEIVA was asked “Did
you bring protection? Don’t wanna get preggo lol” to which he replied “No, but I will pull out
and never get you prego!” At 1:59pm LEIVA was messaged that the girl had left the location
on foot, heading home, but could turn around. At 2:00pm LEIVA messaged asking if she
wanted him to pick her up. At 2:02pm LEIVA was told yes and he was provided with another
nearby location. LEIVA then texted “omw” which was understood by agents to mean that
LEIVA was on his way. LEIVA was observed to then go back to his vehicle and enter it. At
approximately 2:05pm, LEIVA was apprehended by HSI McAllen Special Agents.

If LEIVA had sex with a 12 year old child, he could have been charged with aggravated sexual
assault in violation of the Texas Penal Code 22.021.
